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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF MISSISSIPPI

OXFORD DIVISION
)
UNITED STATES OF AMERICA, )
)
Plaintift`, )
)
V. ) Civil Action No. 3:18~cv~127-NBB-JMV
)
DELTA PHARMA, INC., a corporation, and ) CONSENT DECREE OF
TOMMY T. SIMPSON and ) PERMANENT INJUNCTION
CHARLES MICHAEL HARRISON, individuals, )
' )
Defendants. )

Plaintiff, the United States of Arnerica, by its undersigned attorneys, having filed a
Cornplaint for Perrnanent lnjunction against Defendants, Delta Pharrna, Inc. (“Delta Pharma”), a
corporation, and Tornmy T. Simpson and Charles Michael Harrison, individuals (collectively,
“Defendants”), and Defendants having appeared and having consented to the entry of this Consent
Decree of Pennanent injunction (“Decree”) without contest, Without admitting or denying the
allegations in the Cornpiaint, and before any testimony has been taken, and the United States Of
America having consented to this Decree;

IT IS HEREBY OR_DERED, ADJUDGED, AND DECREED as follows:

1. This Court has jurisdiction over the subject matter and all parties to this action
under 28 U.S,C. §§ 1331 and 1345, 21 U.S.C. § 332, and its inherent equitable authority

2. The Complaint for Perrnanent lnj auction Statcs a cause of action against Del`endants
under the Federal Food, Drug, and Cosrnetic Act, 21 U.S.C. §§ 301-399i (the “Act”).

3. 'l`he Cornpiaint alleges that Defendants violate the Act, 21 U.S.C. § 331(a), by

introducing or causing to be introduced, or delivering or causing to be delivered for introduction,

 

 

 

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into interstate commerce, articles of drug that are adulterated Within the meaning of 21 U.S.C.
§ 351(a)(2)(A), in that the drugs have been prepared, pacl<ed, or held under insanitary conditions
Whereby they may have been contaminated With filth or Whereby they may have been rendered
injurious to health

4. The Cornplaint alleges that Defendants violate the Act, 21 U.S.C. §33l(a), by
introducing or causing to be introduced, or delivering or causing to be delivered for introduction,
into interstate commerce, articles of drug that are adulterated within the meaning of 21 U.S.C.
§ 351(a)(2)(B), in that the methods used in, or the facilities or controls used for, their manufacture,
processing, packing, or holding do not conform to, cr are net operated or administered in
conformity with, current good manufacturing practice to assure that such drugs meet the
requirements of the Act as to safety and have the identity and strength, and meet the quality and
purity characteristics, Which they purport or are represented to possessl

5. The Complaint alleges that Dei`endants violate the Act, 21 U.S.C. §331(a), by
introducing or causing to be introduced, or delivering or causing to be delivered for introduction,
into interstate commerce, articles of drugs that are misbranded within the meaning of 21 U.S.C.
§ 352(f)(1), in that their labeiing does not bear adequate directions for use.

6. The Cornplaint alleges that Defendants violate the Act, 21 U.S.C. § 331(1<), by
causing articles ot` drug to become adulterated within the meaning of 21 U.S.C. §§ 351(a)(2)(A)
and 351(a)(2)(B), and to become misbranded Within the meaning of 21 U.S.C. § 352(1")(1), while
the drugs are held for sale after shipment of one or mere cf their components in interstate
commerce

7. The Complaint alleges that Defendants violate the Act, 21 U.S.C. §33l(d), by

introducing or causing to be introduced, or delivering or causing to be delivered for introduction,

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into interstate commerce, new drugs, as defined by 21 U.S.C. § 32l(p), that are neither approved
pursuant to 21 U.S.C. § 355, nor exempt from approval
8. For the purposes of this Decree, the following definitions shall apply:

A. “Bullc drug substance” shall refer to bulk drug substance as defined in 21
C.F.R. § 2073 or any successor regulation. Defendants may use bulk drug substances in
compounding drugs at an outsourcing facility consistent with 21 U.S.C. § 353b(a)(2) and any
applicable regulation, or guidance issued by FDA, or any successor regulation or guidance

B. “CGMP” shall refer to the current good manufacturing practice
requirements for drugs within the meaning of 21 U.S.C. § 351(a)(2)(B) and 21 C.F.R. Paits 210
and 211. ln determining whether Defendants are compounding drugs at an outsourcing facility in
compliance with CGMP, Defendants, their expert eonsultants, and FDA may consider any
regulations andfor guidance that PDA has issued with respect to CGiVIP for outsourcing facilities;

C. “Cornpound” and “cornpounding” shall include the combining, admixing,
mixing, diluting, pooling, reconstituting, or otherwise altering of a drug or bulk drug substance to
create a drug;

D. “Days"` shall refer to calendar days unless otherwise stated;

E. “Defendants’ facility” shall refer to the facility located at 114 W. Mulberry
Street, Ripley, l\/[ississippi 38663, and any other location(s) (including any new locations) at or
from Which, at any time in the future, any Defendant, directly or indirectly, manufactures, holds,
and/or distributes drugs, whether or not any Defendant has an ownership interest in the business;

F. “Distribution” and “distributing” shall mean to sell, trade, ship, or deliver
and shall include, but not be limited to, delivery or shipment to a healthcare setting for

administration and dispensing to a patient or to an agent of a patient;

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G. “Drug” shall have the meaning given the term in 21 U.S.C. § 321(g)(1);

H. “Drug product” shall mean a finished dosage form (for example, tablet,
capsule, or solution) that contains a drug substance, generally, but not neeessarily, in association
with one or more other ingredients;

l. “FDA” shall mean the United States Food and Drug Administration;

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J. The terms “manufacture, manufactured,” and “manufacturing” shall
include manufacturing, compounding, processing, packing, repacking, and labeling drugs;

K. “New drug” shall have the meaning as set out in 21 U.S.C. § 321(p); and

L. “Sterile drug” shall have the meaning as set out in 21 U.S.C. § 353b(d)(5).

9. Upon entry of this Decree, Defendants and each and all of their directors, officers,
agents, employees, representatives, successors, assigns, attorneys, and any and all persons in active
concert or participation with any of them (including, but not limited to, Haucl< Family Trust) who
have received actual notice of this Decree by personal service or otherwise, are permanently
restrained and enjoined, under 21 U.S.C. § 332(a) and the inherent equitable authority of this
Court, from directly or indirectly manufacturing holding, and/or distributing any drugs
manufactured at and/or from Defendants’ facility, unless and until:

A. Defendants ensure that the facilities, methods, and controls used to
manufacture, hold, and/or distribute drugs are established, operated, and administered in
conformity with this Decree, the Act, and its implementing regulations, and are adequate to prevent
Defendants’ drugs from becoming adulterated within the meaning of 21 U.S.C. §§ 351(a)(2)(A)

and 351(a)(2)(B), unapproved new drugs within the meaning of 21 U.S.C. §355, and/or

misbranded within the meaning of 21 U.S.C. § 352(f)(1);

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B. Defendants ensure that each and every drug that Defendants intend to
manufacture, hold, and/or distribute at or from their facility satisfies all of the provisions of 21
U.S.C. § 353b, including but not limited to:
(1) Drug labeling at 21 U.S.C. § 353b(a)(10);
(2) Facility registration at 21 U.S.C. § 353b{b)(1);
(3) Use of bulk drug substances at 21 U.S.C. § 353b(a)(2);
(4) Drug reporting at 2i U.S.C. § 353b(b)(2); and
(5) Adverse event reporting at 21 U.S.C. § 353b(b)(5);
C. Defendants retain, at Defendants’ expense, an independent person or
persons (the “CGMP Expei ”) who: (l) is without any personal or financial ties (other than a
retention agreement to satisfy the requirements of this provision) to Defendants or their families;
and (2) by reason of background, training, education, or experienee, is qualified to conduct
inspections to determine whether Defendants’ facility, methods, and controls are established,
operated, and administered in conformity with CGMP, to prevent Defendants from manufacturing
holding, and/or distributing drug products that are adulterated within the meaning of 21 U.S.C.
§§ 351(a)(2)(A) and 351(a)(2)(B), unapproved new drugs within the meaning of 21 U.S.C. § 355,
and/or misbranded within the meaning of 21 U.S.C. §352(f)(l), and to recommend corrective
actions. Defendants shall notify FDA in writing of the identity and qualifications of the CGMP
Expert within ten (10) days after retaining any such CGMP Expert;
D. Defendants submit a protocol that identifies the work plan for the CGMP
Expert and the methodology that shall be used by the CGMP Expert (the “Work Plan”) to:
(1) conduct inspection(s) of Defendants’ facility as described in paragraph 9.E.; (2) ensure that

Defendants implement all recommended corrective actions; and (3) ensure that Defendants’

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procedures for manufacturing holding, and/or distribution of drugs are adequate to prevent
Defendants drug products from becoming adulterated within the meaning of 21 U.S.C.
§§ 351(a)(2)(A) and 351(a)(2)(B) and/or misbranded within the meaning of2i U.S.C. § 352(f)(1).
Defendants shall not implement the Worl< Plan prior to receiving FDA’s written approval, and in
no circumstances, shall FDA’s silence be construed as a substitute for written approval. F`DA will
review and provide a written response regarding the Work Plan as soon as practicable;

E. The CGMP Expert reviews all observations listed on Forms FDA~483
issued to Defendants since March 2004 and performs comprehensive inspection(s) of Defendants’
facility and the methods and controls used to manufacture, hold, and/or distribute drugs to
determine whether Defendants’ facility, methods, and controls are, at a minimum, in conformity
with CGMP and are adequate to prevent Defendants’ drug products from becoming adulterated
within the meaning of 21 U.S.C. §§ 351(a)(2)(A) and 351(a)(2)(B), unapproved new drugs within
the meaning of2l U.S.C. § 355, and/or misbranded within the meaning of21 U.S.C. § 352(f)(1).
The CGMP Expert shall evaluate, at a minimum, whether:

(l) Defendants have established and implemented an adequate written
cleaning and disinfection program that they have shown through valid scientific evidence is
effective for cleaning and dlsinfecting equipment and facilities used-to manufacture drugs;

(2) Defendants have established and implemented an adequate
environmental monitoring program to: (a) ensure that all sterile and/or aseptic operations are
properly monitored (including surfaces and air quality); (b) include scientifically sound pre-
established limits; and (c) ensure that Defendants identify, review, and address any results that

exceed the pre~established limits and any adverse trends;

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(3) Defendants have established and implemented adequate written
procedures designed to prevent microbiological contamination of drug products purporting to be
sterile including, but not limited to, media fill simulations and validation of all aseptic and
Sterilization processes ;

(4) Defendants have established and implemented an adequate testing
program designed to assess the stability characteristics of their drug products, including, but not
limited to preservative content testing;

(5) Defendants have established and implemented written procedures to
ensure that they: (a) thoroughly investigate any unexplained discrepancy or the failure of a batch
of drug product, whether or not the batch has already been distributed, or any of its components,
to meet any of the product’s or component’s specifications, including the extension of such
investigation to other batches of the same product and other products that may have been
associated with the specific failure or discrepancy; (b) take required and timely corrective actions
for all products that fail to meet specifications; and (c) document in a timely manner investigations
and any corrective actions and retain such documentation, as appropriate;

(6) Defendants have established and implemented container closures
systems that are clean, and, where indicated by the nature of the drug, sterilized and processed to
remove pyrogenic properties (depyrogenation) using a validated method to assure they are suitable
for their intended use;

(7) Defendants ensure that the equipment used in the manufacture
and/or holding of their drugs is appropriately designed to facilitate cleaning and maintenance and
Defendants have shown through valid scientific evidence that such equipment is adequate for its

intended use;

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(8) Defendants ensure that their finished drug products are properly
labeled and are not otherwise unapproved new drugs; and

(9) Defendants ensure that their quality control unit has the adequate
responsibility and authority to approve or reject all components, drug product containers,
closures, in-process materials, packaging material, and labeling of drug products, and has the

authority to review and fully investigate any errors that may occur;

F. The CGl\/IP Expert certifies in writing to FDA and Defendants that:

(1) 'fhe CGMP Expert has inspected Defendants’ facility, methods, and
controls used to manufacture, hold, and/or distribute drugs as described in 9.E.;

(2) All deviations brought to Defendants’ attention by FDA, the CGMP
Expert, and any other source have been corrected; and

(3) Defendants’ facility, methods, and controls comply with this
Decree, the Act, and its implementing regulations, including that Defendants’ facility, methods,
and controls are adequate to prevent their drugs from becoming adulterated within the meaning of
21 U.S.C. §§ 351(a)(2)(A) and 351(a)(2)(B), unapproved new drugs within the meaning of 21
U.S.C. § 355, and/or misbranded within the meaning of2l U.S.C. § 352(f)(1).

As part of this certification, Defendants shall ensure that the CGMP Expert
includes a detailed and complete report of the results of the inspection(s) conducted under
paragraph 9.E.;

G. Defendants report to FDA in writing the actions they have taken to:
(l) Correct all insanitary conditions and deviations from CGl\/IP

brought to Defendants’ attention by F-DA, the CGMP Expelt, or any other source; and

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(2) Ensure that Defendants’ facility, methods, and controls used to
manufacture, hold, and/or distribute Defendants’ drugs are established, operated, and administered
in conformity with the Act and its implementing regulations;

H. Defendants establish and maintain a system to report to FDA through the
Mchatch reporting system adverse drug experiences (in the manner described in 21 C.F.R.
§ 310.305 and/or 21 C.F.R. § 314.80) associated or potentially associated with any and all of
Defendants’ drugs as soon as possible, but no later than fifteen (15) days after Defendants’ initial
receipt of reportable adverse event information;

1. Defendants establish and maintain a system to submit to FDA, at the address
specified in paragraph 27, Field Alert Reports (in the manner and as described in 21 C.F.R.
§ 314.81(b)(l)) for all of _Defendants’ distributed drugs within three (3) working days after initial
receipt of information triggering the Field Alert Report;

J. FDA representatives, without prior notice and when FDA deems necessary,
inspect Defendants’ facility to determine whether Defendants’ facility, methods, and controls used
to manufacture, hold, and/or distribute drugs comply with this Decree, the Act, and its
implementing regulations, including whether Defendants’ facility, methods, and controls are
adequate to prevent their drugs from becoming adulterated within the meaning of 21 U.S.C.
§§ 351(a)(2)(A) and 351(a)(2)(B) and/or misbranded within the meaning of21 U.S.C. § 352(f)(1).
FDA will begin an inspection under this paragraph as soon as practicable; and

K. FDA notifies Defendants in writing that Defendants appear to be in
compliance with all of the requirements set forth in paragraphs 9.A.~9.I. of this Decree. FDA will
notify Defendants as soon as practicable ln no circumstance, shall FDA’s silence be construed as

a substitute for written notification

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10. Notwithstanding paragraphs 9 and 14.A., after Defendants have met the reporting
requirements for wholesale distributors required by 21 U.S.C, § 353(e)(2)(A), Defendants may,
but only in their capacity as a wholesale distributor, receive and distribute FDA-approved drug
products that are not manufactured by Defendants.

1 1. Within ten (10) days from the entry of this Decree, Defendants shall, under FDA’s
supervision, destroy all finished and iii-process drugs and all components, that are in Defendants’
possession, custody, or control, except for (a) finished or iri-process drugs that Defendants need
for their validation studies, which Defendants will not distribute, (b) unopened bulk drug
substances, and (c) FDA-approved drug products received or held in connection with Defendants’
wholesale distribution under paragraph 10. Defendants shall bear the costs of destruction and the
costs of FDA’s supervision at the rates specified in paragraph 17. Defendants shall be responsible
for ensuring that the destruction is carried out in a manner that complies with all applicable federal
and state environmental laws, and any other applicable federal or state laws.

12. After Defendants have complied with paragraph 9, and received written notification
from FDA under paragraph 9.K., Defendant shall retain an independent person who meets the
criteria described in paragraph 9.C. and who is qualified to assess Defendants’ compliance with
paragraph 9 (the “Auditor”) to conduct audit inspections of Defendants’ facility. Defendants shall
notify FDA in writing as to the identity and qualifications of the Auditor as soon as they retain
such Auditor. After Defendants receive written notification from FDA under paragraph 9.K., audit
inspections under this paragraph shall commence no less frequently than once every four (4)
months for a period of one (1) year, and once every six (6) months thereafter for an additional four

(4) year period.

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A. At the conclusion of each audit inspection described in this paragraph, the
Auditor shall prepare a written audit report (“Audit Report”) analyzing whether Defendants
comply with the requirements of this Decree, the Act, and its implementing regulations The Audit
Report shall identify all deviations from this Decree, the Act, and its implementing regulations
(“audit report observations”). Beginning with the second Audit Report, the Auditor shall also
assess the adequacy of any corrective actions taken by Defendants to correct all previous audit
report observations, and include this information in the Audit Report. The Audit Report shall be
delivered contemporaneously to Defendants and FDA_by courier service or overnight delivery
service no later than fifteen (15) days after the date each audit inspection is completed ln addition,
Defendants shall maintain all Audit Reports in a separate file at Defendants’ facility to which the
report pertains and shall promptly make the Audit Repoits available to FDA upon request

B. if an Audit Report contains any audit report observations, Defendants shall,
within thirty (30) days after receipt of the Audit Report (or such longer period approved by FDA
as described below), correct those deviations, unless FDA notifies Defendants in writing that a
shorter time period is necessary. lf, after receiving the Audit Repoit, Defendants believe that
correction of the deviations will take longer than thirty (30) days, Defendants shall, within ten (10)
days after receipt of the audit repoit, propose a schedule for completing corrections FDA shall,
as it deems appropriate, review and approve the proposed schedule in writing prior to
implementation In no circumstance shall FDA’s silence be construed as a substitute for written
approval. Defendants shall complete all corrections according to the approved correction schedule.
Within thirty (30) days after Defendants’ receipt of an Audit Report, unless FDA notifies
Defendants that a shorter time period is necessary, or within the time period provided in a

correction schedule approved by FDA, the Auditor shall review the actions taken by Defendants

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to correct the audit report observations Within five (5) business days after completing that review,
Defendants shall ensure that the Auditor reports in writing to F[)A whether each of the audit report
observations has been fully corrected and, if not, which audit report observations remain
uncorrected.

13. Upon receipt of written notification from FDA under paragraph 9.K., Defendants
and each and all of their directors, officers, agents, employees, representatives, successors, assigns,
attorneys, and any and all persons in active concert or participation with any of them, including,
but not limited to, Haucl< Family Trust, who have received actual notice of this Decree by personal
service or otherwise, are permanently restrained and enjoined under 21 U.S.C. § 332(a) from
directly or indirectly doing or causing to be done any act that:

A. Violates 21 U.S.C. § 33l(a) by introducing or causing to be introduced, or
delivering or causing to be delivered for introduction, into interstate commerce, any drug that is
adulterated within the meaning of 21 U.S.C. §§ 351(a)(2)(A) or 351(a)(2)(13), or misbranded
within the meaning of21 U.S.C. § 352(f)(l);

B. Violates 21 U.S.C. § 331(k) by causing any drug to become adulterated
within the meaning of 21 U.S.C. §§ 351(a)(2)(A) or 351(a)(2)(B), and misbranded within the
meaning of 21 U.S.C. § 352(f)(1), while such drug is held for sale after shipment of one or more
of its components in interstate commerce;

C. Violates 21 U.S.C. § 331(d) by introducing or causing to be introduced, or
delivering or causing to be delivered for introduction into interstate commerce, any new drug that
is neither approved under 21 U.S.C. § 355, nor exempt from approval; and/or

D. Any act that results in the failure to implement and continuously maintain

the requirements of this Decree.

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l4. If, at any time after entry of this Decree, FDA determines, based on the results of

an inspection, analyses of samples, a report or data prepared or submitted by Defendants, the
CGMP Expert and/or the Auditor, or any other information, that Defendants have failed to comply
with the provisions of this Decree, violated the Act and/or its implementing regulations, and/or
that additional corrective actions are necessary to achieve compliance with this Decree, the Act
and/or its implementing reguiations, FDA may, as and when it deems necessary, notify Defendants
in writing of the noncompliance and order Defendants to take appropriate corrective action,
including, but not limited to, ordering Defendants to immediately take one or more ofthe following
actions:

A. Cease all manufacturing, processing, packing, labeling, holding, and/or
distribution of any and all drug(s);

B. Recall specified drugs manufactured, held, and/or distributed by
Defendants Defendants shall initiate the recall(s) within twenty-four (24) hours after receiving
notice from FDA that a recall is necessary. Defendants shall, under FDA’s supervision, destroy
all finished and/or in-process drugs and components that are in Defendants’ possession, custody,
or control, for which a recall was initiated Defendants shall bear the costs of such recall(s),
including the costs of destruction and the costs of FDA’s supervision at the rates specified in
paragraph 17. Defendants shall be responsible for ensuring that the destruction is carried out in a
manner that complies with all applicable federal and state environmental laws, and any other
applicable federal or state law;

C. Submit additional reports or information to FDA;

D. Repeat, revise, modify, or expand any report(s) or plan(s) prepared pursuant

to this Decree;

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E. lssue a safety alert with respect to a drug manufactured, processed, pacl<ed,
labeled, held, and/or distributed by Defendants; and/or

F. Take any other corrective action(s) as FDA, in its discretion, deems
necessary to protect the public health or bring Defendants into compliance with this Decree, the
Act and/or its implementing regulations

This remedy shall be separate and apart from, and in addition to, any other remedy available
to the United States under this Decree or under the iaw.
15. The following process and procedures shall apply in the event that FDA issues an

order under paragraph 14.

A. Unless a different time frame is specified by FDA in its order, within ten
(10) business days after receiving such order, Defendants shall notify FDA in writing either that:
(l) Defendants are undertaking or have undertaken corrective action, in which event Defendants
shall also describe the specific action taken or proposed to be taken and the proposed schedule for
completing the action; or (2) Defendants do not agree with FDA’s order. If Defendants notify
FDA that they do not agree with FDA’s order, Defendants shail explain in writing the basis for
their disagreement; in so doing, Defendants may also propose specific alternative actions and
timeframes for achieving FDA’s objectives

B. lf Defendants notify FDA that they do not agree with FDA’s order, FDA
will review Defendants’ notification, and thereafter,' in writing, affirm, modify, or withdraw its
order, as FDA deems appropriate If FDA affirms or modifies its order, it will explain the basis
for its decision in writing The written notice of affirmation or modification shall constitute final

agency action.

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C. If FDA affirms or modifies its order, Defendants shall, upon receipt of
FDA’s order, immediately implement the order (as modified, if applicable), and may, if they so
choose, bring the matter before this Court on an expedited basis. While seeking Court review,
Defendants shall continue to diligently implement and comply with FDA’s order, unless and until
the Court stays, reverses, or modifies FDA’s order. Any judicial review of FDA’s order under this
paragraph shall be made pursuant to paragraph 25.

D. The process and procedures set forth in paragraphs lS.A.~ C. shall not apply
to any order issued pursuant to paragraph l4 if such order states that, in FDA’s judgment, the
matter raises a significant public health concern. In such case, Defendants shall, upon receipt of
such order, immediately and fully comply with the terms of that order. Should Defendants seek
to challenge any such order, they may petition this Court for relief While they implement FDA’s
order. Any judicial review of FDA’s order under this paragraph shall be made pursuant to
paragraph 25.

Any cessation of operations or other action described in paragraph 14 shall continue until
Defendants receive written notification from FDA that Defendants appear to be in compliance with
this Decree, the Act, and its implementing regulations, and that Defendants may resume
operations Upon Defendants’ written request to resume operations, FDA will determine whether
Defendants appear to be in such compliance, and, if so_, issue to Defendants a written notification
permitting, as appropriate, resumption of operations F_DA will issue such written notification to
Defendants as soon as practicable In no circumstance shall FDA’s silence be construed as a
substitute for written notification The costs of PDA inspections, sampling, testing, travel time,

and subsistence expenses to implement the remedies set forth in this paragraph and paragraph 14

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shall be borne by Defendants at the rates specified in paragraph 17. ' This provision shall be separate
and apart from, and in addition to, all other remedies available to FDA.

16. Representatives of FDA shall be permitted, without prior notice and as and when
FDA deems necessary, to make inspections of Defendants’ facility, collect samples, and, without
prior notice, take any other measures necessary including but not limited to, FDA’s authorities set
out in 21 U.S.C. § 374, for example, observing routine production to monitor and ensure
continuing compliance with the terms of this Decree. During such inspections, FDA
representatives shall be permitted access to Defendants’ facility including, but not limited to, all
buildings, equipment, in-process or unfinished and finished materials and products, containers,
labeling, and other promotional material therein; to take photographs and make video recordings;
to take samples, without charge to FDA, of finished and unfinished materials and products,
containers and packaging material therein, labeling, and other promotional material; and to
examine and copy all records relating to the receipt, manufacturing holding, and/or distribution of
any and all drugs and their components. The inspections shall be permitted upon presentation of
a copy of this Decree and appropriate credentials The inspection authority granted by this Decree
is separate frorn, and in addition to, the authority to conduct inspections under the Act, 21 U.S.C.
§ 374.

17. Defendants shall pay all costs of FDA’s supervision, inspections, investigations,
analyses, examinations, and reviews that FDA deems necessary to evaluate Defendants’
compliance with this Decree, including the travel incurred by specialized investigatory and expert
personnel, at the standard rates prevailing at the time the cohts are incurred. As of the date that this
Decree is signed by the parties, these rates are: $95.39 per hour and fraction thereof per

representative for inspection work; $114.33 per hour or fraction thereof per representative for

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analytical or review work; $0.545 per mile for travel by automobile; government rate or the
equivalent for travel by air or other means; and the published government per diem rate or the
equivalent for the areas in which the inspections are performed per representative and per day for
subsistence expenses, where necessary In the event that the standard rates applicable to _FDA
supervision of court-ordered compliance are modified, these rates shall be increased or decreased
Without further order of the Court.

18. Within three (3) days after becoming aware of any of the following information about
any drugs manufactured, held, and/or distributed at or from Defendants’ facility, Defendants shall
submit to FDA at the address specified in paragraph 27, a product quality report describing all
information pertaining to any:

_ A. Product and/or manufacturing defects that could result in serious adverse
drug experiences;
B. Mislabeling or mix-ups, including incident(s) that causes any drug or its
labeling to be mistaken for, or applied to, another article; and/or
C. Contamination, including any bacteriological, fungal, or environmental
contamination, or any significant chemical, physical, or other change or deterioration, or lack of
stability or incorrect potency, in any drug.

19. Within seven (7) days after entry of this Decree, Defendants shall post a copy of
this Decree on a bulletin board in the employee common areas at Defendants’ facility, and, if
applicable, publish the Decree on any internal and/or publically-available website maintained
and/or controlled by Defendantsl Defendants shall ensure that the Decree remains posted as

described herein for as long as the Decree remains in effect

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20. Within seven (7) days after entry of this Decree, Defendants shall provide a copy
of this Decree, by personal service or certified mail (restricted delivery, return receipt requested),
to each and all of their directors, officers, agents, employees, representatives, successors, assigns,
attorneys, and any and all persons in active concert or participation with any of them (collectively
referred to as “Associated Persons”). Within thirty (30) days after entry of this Decree, Defendants
shall provide to FDA an affidavit of compliance, signed by a person with personal knowledge of
the facts, stating the fact and manner of compliance with the provisions of this paragraph and
identifying the names, addresses, and positions of all persons who have received a copy of this
Decree pursuant to this paragraph, and attaching a copy of the executed certified mail return
receipts. Within seven (7) days after receiving a request from FDA for any information or
documentation that FDA deems necessary to evaluate Defendants’ compliance with this paragraph,
Defendants shall provide such information or documentation to FDA.

21. Within seven (7) days after entry of this Decree, Defendants shall hold a general
meeting or series of smaller meetings for all Associated Persons, at which they shall describe the
terms and obligations of this Decree. Such meeting or meetings may occur via teleconference.
Within fifteen (15) days after entry of this Decree, Defendants shall provide to FDA an affidavit
of compliance, signed by a person with personal knowledge of the facts, stating the fact and manner
of compliance with the provisions of this paragraph and a copy of the agenda, list of attendees, and
meeting minutes from the meeting(s) held pursuant to this paragraph

22. ln the event that Defendants becomes associated with any additional Associated
Person(s) at any time after entry of this Decree, Defendants immediately shall provide a copy of
this Decree, by personal service or certified mail (restricted delivery, return receipt requested), to

such Associated Person(s). Within thirty (30) days after each time Defendant becomes associated

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with any Such additional Associated Person(s), Defendants shall provide to FDA an affidavit
stating the fact and manner of their compliance with this paragraph, identifying the names,
addresses, and positions of all Associated Persons who received a copy of this Decree pursuant to
this paragraph, and attaching a copy of the executed certified mail return receipts. Within seven
(7) days after receiving a request from FDA for any information or documentation that FDA deems
necessary to evaluate Defendants’ compliance with this paragraphJ Defendants shall provide such
information or documentation to FDA.

23. Defendants shall notify FDA at least fifteen (15) days before any change in
ownership, character, or name of any of Defendants’ businesses, including incorporation,
reorganization, relocation, bankruptcy, dissolution, assignment, or sale resulting in the emergence
of a successor corporation, the creation or dissolution of subsidiaries, or any other change in the
corporate structure, or identity of Delta Pharrna, or in the sale or assignment of any business assets,
such as buildings, equipment, or inventory, that may affect obligations arising out of this Decree.
Defendants shall provide a copy of this Decree to any potential successor or assign at least fifteen
(15) days before any sale or assignment Defendants shall furnish FDA with an affidavit of
compliance with this paragraph no later than ten (10) days prior to any such assignment or change
in ownership

24. lf any Defendant fails to comply with any provision of this Decree, the Act and/or
its implementing regulations, including any time frame imposed by this Decree, then Defendants
shall pay to the United States of America: five thousand dollars ($5,000) in liquidated damages
for each day such violation continues; an additional sum of five thousand dollars ($5,000) in
liquidated damages for each violation,' and further additional sum equal to the retail value of drug

products that have been manufactured, held, and/or distributed in violation of this Decree, the Act,

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and/or its implementing regulations The remedy in this paragraph shall be in addition to any other
remedies available to the United States under this Decree or the law.

25 . Defendants shall abide by the decisions of PDA, and FDA’s decisions shall be final.
All decisions conferred upon FDA in this Decree shall be vested in FDA’s discretion and, to the
extent that these decisions are subject to review, shall be reviewed by this Court under the arbitrary
and capricious standard set forth in 5 U.S.C. § 706(2)(A). Review by the Court of any FDA
decision rendered pursuant to this Decree shall be based exclusively on the written record before
FDA at the time of the decision No discovery shall be taken by either party.

26. Should the United States of America bring, and prevail in, a contempt action to
enforce the terms of this Decree, Defendants shall, in addition to other remedies, pay all attorneys’
fees and costs, travel expenses incurred by attorneys and witnesses, expert witness fees,
investigational and analytical expenses, court costs, and any other costs or fees incurred by the
United States in bringing such an action.

27. All notifications, certifications, reports, correspondence, and other communications
to FDA required by the terms of this Decree shall be prominently marked “Consent Decree
Correspondence,” and shall be addressed to the Director, FDA, ORA/OPQO - Pharm 2 District
Office, 4040 N. Central Expressway, Dallas, TX 75204.

28. No sooner than sixty (60) months after entry of this Decree, Defendants may
petition FDA for leave to ask this Court for relief from this Decree. lf, at the time of the petition,
in FDA’s judgment, Defendants have maintained a state of continuous compliance with this
DecreeJ the Act, and its implementing regulations for at least sixty (60) months, the United States

will not oppose the petition, and Defendants may request the Court to grant such relief.

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29. rl`his Court retains jurisdiction of this action and the parties thereto for the purpose
of enforcing and modifying this Decree and for the purpose of granting such additional relief as

may be necessary or appropriatel ¢L

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The undersigned hereby consent to the entry of the foregoing Decree.

For Defendants:

 

TOl\/ll\/[Y T. SIMPSON
Individually and on behalf of DELTA
PHARMA, lNC.

 

CHARLES MICHAEL HARRISON
lndividually

 

DANlEl, G. JARCHO
Attorney for Defendants

 

CATHY L. BURGESS
Attorney for Defendants

For the United States of America:

WILLlAl\/l C. LAMAR
United States Attomey

JOHN GOUGH
Assistant United States Attorney

CHAD A. READLER
Acting Assistant Attorney General
Civil Division

ETHAN P. DAVIS
Deputy Assistant Attorney General

GUSTAV W, EYLER
Acting Director
Consumer Protection Branch

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lit il s WM

Jo§sHUA D. RorrnviAN

irial Attorney

Consumer Protection Branch
Department of Justice, Civil Division
P.O. Box 386

Washington, D.C. 20044

(202) 514-1586
Joshua.D.Rothman@usdoj.gov

 

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The undersigned hereby consent to the entry of the foregoing Decree.

For Defendants:

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T<:)MMWr. SIMPSQN
lndividually and on behalf of DELTA

PHARML INC.

 

CHARLBS MICHAEL HARRISGN
Individuelly

 

DANIEL `G, JARCHO
Attome'y for Defendants

cATHY ;.£. BURGESS.)
A£tome'y for Defendants

For the United States of America:

WILLIAM C. LAMAR
United States Attomey

JOHN GOUGH
Assistant United States Attomey

CHAD A. READLER

Acting As$istant Attomey General
Civil Div'ision

E'I`HAN P, DA.VIS

Deputy Assista.nt Attomey Generaf

GUS'I`AV W. EYLER
Acting Director
Consumer Protect§en Branch

 

JOSHUA D. ROTHMAN

Trial Attomey

Consumer Protection Branch
Depmment efJustice, Civil Division
P,O. Box 386

Washington, D.C. 20044

(202) 514~1586
Joshna.D.Rothman@usdoj.gov

 

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The undersigned hereby consent to the entry of` the foregoing Decrce.

For Defendants: For the United Slnlcs of America:

WELLIAM C. LAMAR
United Sm£es Attc)rney

 

TOMMY T. SlMPSON

 

Indiv§dua|iy and en behalf of [}ELTA JOH`N GOUGH

PHA MA., INC. Assistant Uniicd Staxes Atturncy
_OZW£‘¢ MMM CHAB A. RBADLER
CHAR.LES MICHAEL HARRISON Acfing Assistzmt Attomey Gcneral
Individuaiiy Civil Division

ETHAN P. DAV¥S
DANIEL G. JARCHO Deputy Assistant Attorney General
Actomey for Defendants

 

GUSTAV W. EYLER
mm Acting Director
- ‘M-$(z"”\, Consumer Proteetion Branch
CATHY l!. BURGES£L)
Attomey for Defendants

 

J’OSHUA D. ROTHMAN

Trial Attomey

Consumer Protection Branch
Department of J\.lst§ce. Civil Divisien
P.O. Box 335

Washi_ngton, D.C. 20044

(202) sam 536
Joshua.D.Rothman@usdoj.gov

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The undersigned hereby consent to the entry of the foregoing Decree.

For Defendants:

 

TOMMY T'. SIMPSON
Indi_vic_iualiy andron behalf of DELTA
PHAR_MA,- INC,

 

cHARLES MiCi`~iAEL HARRISQN
Individ_ually

ii MA* ime-y

D'ANIEL G. JA_RC' o
Attorney for De_£-`enda S

 

CATHYL. BUI{GESS
Attomey for Defendants

.For -the United Staies of Americ_a':

WILLIAM C. LAMAR'
United _`States Azterney

.`¥OHN GOUGI{
As`s_istant United Stat_es Attomey

_CHAD A. ,READLER

-Ac`ting As`sis`tant Attom`ey Gene‘r'al

Civil D`ivision
ETHAN P. DAVIS -
Deputy ASSiStant Atlor_ney G_eneral

GUSTAV W. EYLER.
Acting Di-reetor-
C_onsumer I"rotection Branch

 

J_O_SH_UA D. RGTHMAN

Trial Attorney

Consumer Proteetion.Branch;
Depar‘£ment of Justice, Civil Divisio'n;
P,()-. Box. 3 86

Washington, .D.C. '20044

(202_) 514-1586
Joshua.D.Rothman@us'doj.gov

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OF COUNSEL:

ROBERT P. CHARROW
General Counsel

REBECCA K. WOOD
Chief Counsel
Food and Drug Division

ANNAMARIE KEMPIC
Deputy Chief Counsef for Litigation

LAURA AKOWUAH

Assoeiate Chief Counsel

U.S. Departrnent of Health & Human
Services

Ofi`lee of the General Counsei

10903 NeW Hampshire Avenue
Silver Spring, MD 20993-0002
301-796-79]2

 

 

